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                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                           AUG 20 2020
                                                                        MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
GABRIELLA KERTESZ,                                No.    20-35573

                 Plaintiff-Appellant,             D.C. No. 2:20-cv-00372-RAJ
                                                  Western District of Washington,
 v.                                               Seattle

BOB FERGUSON, Attorney General of                 ORDER
Washington State,

                 Defendant-Appellee.

Before: SILVERMAN, McKEOWN, and BRESS, Circuit Judges.

      The cross-motions for summary disposition (Docket Entry Nos. 2 and 4) are

denied. It does not appear the issues raised in this appeal are so insubstantial as to

warrant disposition before the filing of the opening brief. See United States v.

Hooton, 693 F.2d 857, 858 (9th Cir. 1982) (stating standard).

      The opening brief is due October 6, 2020; the answering brief is due

November 5, 2020; and the optional reply brief is due within 21 days after service

of the answering brief.

      Because appellant is proceeding without counsel, the excerpts of record

requirement is waived. See 9th Cir. R. 30-1.2. Appellee’s supplemental excerpts

of record are limited to the district court docket sheet, the notice of appeal, the

judgment or order appealed from, and any specific portions of the record cited in



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the answering brief. See 9th Cir. R. 30-1.7.




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